        Case 2:20-cr-00157-RSM Document 19 Filed 10/27/20 Page 1 of 2




 1                                                  The Honorable Ricardo S. Martinez

 2

 3

 4                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 5
     UNITED STATES OF AMERICA,                       ) No. CR20-157 RSM
 6                                                   )
                    Plaintiff,                       )
 7                                                   )      ORDER RE: VIDEO PLEA
            vs.                                      )             HEARING
 8                                                   )
     MULUGETA ASFAW,                                 )
 9                                                   )
                    Defendant.                       )
10                                                   )
                                                     )
11

12

13           THE COURT has considered the Stipulated Motion to Proceed With Guilty

14   Plea by Video Hearing, along with the relevant records and files herein, as well as the
15   relevant General Orders currently in effect.
16
            THE COURT FINDS that the circumstances are as set forth in the parties’
17
     motion, and that a video guilty plea hearing may take place as soon as practical because
18
     further delays in this case would risk “serious harm to the interests of justice.” See
19

20   General Order No. 04-20 (3/30/20). Accordingly,

21          THE COURT ORDERS that the parties may proceed with a guilty plea by
22
     video hearing, consistent with current procedures established by this Court, and directs
23

24

25
     ORDER RE:VIDEO PLEA HEARING - 1                         LINDELL LAW OFFICES, PLLC
                                                                      P.O. Box 379
26                                                                Redmond, WA 98073
                                                                      206-230-4922/
                                                                 eric@lindelllaw.com
        Case 2:20-cr-00157-RSM Document 19 Filed 10/27/20 Page 2 of 2




 1   the parties to consult with one another and the Court to schedule such a hearing at a
 2   mutually acceptable date and time.
 3

 4

 5          DONE this 27th day of October, 2020.
 6

 7

 8

 9                                               A
                                                 RICARDO S. MARTINEZ
10                                               CHIEF UNITED STATES DISTRICT
                                                 JUDGE
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14
     Presented By:
15

16   s/Eric Lindell                              /S/ Hillary Stuart
     Attorney for Defendant Asfaw                Assistant United States Attorney
17   P.O. Box 379                                [Agreed to by stipulation, notice of
     Redmond, WA. 98073                          presentation waived, signature
18   EricLindell@Icloud.com                      approved via email]
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24

25
     ORDER RE:VIDEO PLEA HEARING - 2                       LINDELL LAW OFFICES, PLLC
                                                                    P.O. Box 379
26                                                              Redmond, WA 98073
                                                                    206-230-4922/
                                                               eric@lindelllaw.com
